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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:

 CARLOS BRITO,

               Plaintiff,

 v.

 RICOR ENTERPRISES, INC. d/b/a EL
 PUB RESTAURANT,

               Defendant.
                                                /

                                           COMPLAINT

 Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated mobility-

 impaired individuals (hereinafter “Plaintiff”), sues RICOR ENTERPRISES, INC. d/b/a EL PUB

 RESTAURANT (hereinafter “Defendant”), and as grounds alleges:

                             JURISDICTION, PARTIES, AND VENUE

      1.       This is an action for injunctive relief, attorneys' fees, litigation expenses, and

 costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with Disabilities Act” or “ADA”)

 and 28 U.S.C. §§ 2201 and 2202.

      2.       The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

 § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

       3.      Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a

 residence in Miami-Dade County, Florida, and is otherwise sui juris.

       4.      At all times material, Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB

 RESTAURANT, owned and operated a commercial restaurant at 1548 SW 8th Street Miami,

 Florida 33135 (hereinafter the “commercial property”) and conducted a substantial amount of


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 business in that place of public accommodation in Miami, Florida.

       5.       At all times material, Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB

 RESTAURANT, was and is a Florida Limited Liability Company which is registered to conduct

 business in the State of Florida and has the principal place of business listed in this complaint in

 Miami, Florida.

       6.       Venue is properly located in the Southern District of Florida because Defendant’s

 commercial property, restaurant, and business is located in Miami-Dade County, Florida;

 Defendant regularly conducts business within Miami-Dade County, Florida; and because a

 substantial part(s) of the events or omissions giving rise to these claims occurred in Miami-Dade

 County, Florida.

                                       FACTUAL ALLEGATIONS

        7.      Although well over thirty (30) years have passed since the effective date of Title III

 of the ADA, Defendant has yet to make its/their facilities accessible to individuals with disabilities.

        8.      Congress provided commercial businesses one and a half years to implement the

 Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

 publicity the ADA has received since 1990, Defendant have continued to discriminate against

 people who are disabled in ways that block them from access and use of Defendant’s property and

 the businesses therein.

        9.      The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

 requires landlords and tenants to be liable for compliance.

        10.     The Defendant in the instant case is the owner of the real property and restaurant

 business located at 1548 SW 8th Street Miami, Florida 33135 which together are a place of public

 accommodation.



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        11.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

 pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

 from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

 his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

 use of a wheelchair to ambulate.

        12.     Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB RESTAURANT, owns,

 operates and oversees the Commercial property and restaurant business, to include its general

 parking lot therein and all other common areas open to the public located within the commercial

 property.

        13.     Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB RESTAURANT, owns,

 operates and oversees the commercial restaurant within this commercial property, to include the

 general parking lot and parking spots specific to its commercial restaurant business therein and all

 other pathway and commercial goods areas, aisles and restroom areas, which are open to the public

 located within the commercial property.

        14.     The subject commercial property and restaurant is open to the public and is

 located in Miami, Florida. The individual Plaintiff visits the commercial property and restaurant,

 to include visits to the commercial property and business located within the commercial property

 on May 17th, 2024, and encountered multiple violations of the ADA that directly affected his ability

 to use and enjoy the commercial property. He often visits the commercial property and restaurant

 business in order to avail himself of the goods and services offered there, and because it is

 approximately nineteen (19) miles from his residence and is near other business and restaurant he

 frequents as a patron. He plans to return to the commercial property within two (2) months from

 the date of the filing of this Complaint.



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        15.       The Plaintiff, CARLOS BRITO, found the commercial property and commercial

 restaurant business to be rife with ADA violations, despite the three (3) prior ADA lawsuits filed

 against it. The Plaintiff encountered architectural barriers at the commercial property and

 restaurant business and wishes to continue his patronage and use of the premises.

       16.        The Plaintiff, CARLOS BRITO, has encountered architectural barriers that are in

violation of the ADA at the subject commercial property and restaurant. The barriers to access at

Defendant’s commercial property and restaurant business have each denied or diminished

Plaintiff’s ability to visit the commercial property and have endangered his safety in violation of the

ADA. The barriers to access, which are set forth below, have likewise posed a risk of injury(ies),

embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly situated.

        17.       Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB RESTAURANT, owns

 and operates a place of public accommodation as defined by the ADA and the regulations

 implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendant, RICOR ENTERPRISES, INC.

 D/B/A EL PUB RESTAURANT, is accordingly responsible for complying with the obligations of

 the ADA. The place of public accommodation that Defendant, RICOR ENTERPRISES, INC.

 D/B/A EL PUB RESTAURANT, owns and operates is the commercial property and/ restaurant

 located at 1548 SW 8th Street, Miami, Florida 33135.

       18.        Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB RESTAURANT, as

owner of the commercial property and restaurant business, is liable for all ADA violations listed in

this Complaint.

        19.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendant’s non-compliance with the ADA with respect to the

 described commercial property and restaurant, including but not necessarily limited to the




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 allegations of this Complaint. Plaintiff has reasonable grounds to believe that he will continue to

 be subjected to discrimination at the commercial property, in violation of the ADA. Plaintiff desires

 to visit the commercial property and businesses located therein, not only to avail himself of the

 goods and services available at the commercial property, but to assure himself that the commercial

 property and restaurant are in compliance with the ADA, so that he and others similarly situated will

 have full and equal enjoyment of the commercial property without fear of discrimination.

         20.      Defendant has discriminated against the individual Plaintiff by denying him access

 to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

 accommodations of the commercial property, as prohibited by 42 U.S.C. § 12182 et seq.

                                   COUNT I - ADA VIOLATIONS

         21.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

 20 above as though fully set forth herein.

         22.      Defendant, RICOR ENTERPRISES, INC. D/B/A EL PUB RESTAURANT has

 discriminated, and continue to discriminate, against Plaintiff in violation of the ADA by failing,

 inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

 has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

 Plaintiff encountered during his visit to the commercial property, include but are not limited to,

 the following:

     A. Entrance Access and Interior Path of Travel

     i. The Plaintiff had difficulty entering the restaurant without assistance, as the entrance threshold is

 too high. Violation: There are threshold rises in excess of ½ inch at the entrance, violating Section 4.13.8

 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards, whose resolution is readily achievable.

     ii. The Plaintiff could not enter the restaurant without assistance, as the required level landing




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 is not provided. Violation: A level landing that is 60 inches minimum perpendicular to the doorway

 is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a) of the ADAAG

 and Section 404.2.4 of the 2010 ADA Standards, whose resolution is readily achievable.

    iii. The Plaintiff had difficulty entering the restaurant without assistance, as the required

 maneuvering clearance is not provided. Violation: The restaurant entrance doors do not provide

 the required latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of

 the 2010 ADA Standards, whose resolution is readily achievable

    B. Access to Goods and Services

    i. There is seating provided at the facility that does not comply with the standards prescribed

  in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

  resolution is readily achievable.

    ii. The Plaintiff could not utilize the bar counter, as it is mounted too high. Violation: There

  are bar counters that are not at the prescribed height, violating Section 4.32.4 and 5.2 of the

  ADAAG and Section 902.3 of the 2010 ADA Standards, whose resolution is readily achievable.

    C. Public Restrooms

    i. There are permanently designated interior spaces without proper signage, violating Section

  4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

  whose resolution is readily achievable.

    ii. The Plaintiff had difficulty using the doorknob on the restroom door without assistance, as

  it requires tight grasping. Violation: The restroom door has non-compliant hardware for disabled

  patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and Sections 309.4 & 404.2.7 of the

  2010 ADA Standards, whose resolution is readily achievable.

    iii. The Plaintiff could not enter the restroom without assistance, as the required maneuvering




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  clearance is not provided. Violation: The restroom door does not provide the required latch side

  clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA

  Standards, whose resolution is readily achievable.

    iv. The Plaintiff had difficulty using the urinals as the rims are mounted too high. Violation:

  There are urinals provided for public use that do not comply with the standards set forth in

  Section 4.18.2 of the ADAAG and Section 605.2 of the 2010 ADA Standards, whose resolution

  is readily achievable.

    v. The Plaintiff could not use the lavatory outside the accessible toilet compartment without

  assistance, as the required knee clearance is not provided. Violation: There are lavatories outside

  the accessible toilet compartment that don’t provide the required clearances violating Section

  4.19.2 & Figure 31 of the ADAAG and Sections 213.3.4, 306.3, & 606.2 of the 2010 ADA

  Standards, whose resolution is readily achievable.

    vi. The Plaintiff could not use the accessible toilet compartment door without assistance, as it

  is not self-closing and does not have compliant door hardware. Violation: The accessible toilet

  compartment door does not provide hardware and features that comply with Sections 4.17.5 and

  4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards, whose

  resolution is readily achievable.

    vii. The Plaintiff could not transfer to the toilet without assistance, as the rear grab bar is

  missing and the side grab bar is not the required length. Violation: The grab bars in the accessible

  toilet compartment do not comply with the requirements prescribed in Section 4.17.6 of the

  ADAAG and Sections 604.5 and 609 of the 2010 ADA Standards, whose resolution is readily

  achievable.

    viii.       The Plaintiff could not use the toilet compartment without assistance, as one of the




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   required size is not provided: Violation: The toilet compartments provided for public use at the

   facility are in violation of Section 4.17.3 and Figure 30(a) of the ADAAG and Section 604.8.1

   of the 2010 ADA Standards, whose resolution is readily achievable.

     ix. The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

   required distance from the side wall. Violation: The water closet in the accessible toilet

   compartment is mounted at a non-compliant distance from the wall in violation of Section 4.17.3

   and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

   resolution is readily achievable.

                                 RELIEF SOUGHT AND THE BASIS

         23.     The discriminatory violations described in this Complaint are not an exclusive list

 of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

 public accommodation in order to photograph and measure all of the discriminatory acts violating

 the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

 requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

 presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal

 enjoyment of the commercial restaurant; Plaintiff requests to be physically present at such

 inspection in conjunction with Rule 34 and timely notice. A Plaintiff requests the inspection in

 order to participate in crafting a remediation plan to address Plaintiff’s request for injunctive relief.

 The remediations for the ADA violations listed herein are readily achievable.

         24.     The Plaintiff, and all other individuals similarly situated, have been denied access

 to, and have been denied full and equal enjoyment of the goods, services, facilities privileges,

 benefits, programs and activities offered by Defendant’s commercial property and commercial

 restaurant business within the place of public accommodation; and has otherwise been




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 discriminated against and damaged by the Defendant because of the Defendant’s ADA violations

 as set forth above. The Plaintiff, and all others similarly situated, will continue to suffer such

 discrimination, injury and damage without the immediate relief provided by the ADA as requested

 herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

 Defendant’s place of public accommodation in order to determine all of the areas of non-

 compliance with the Americans with Disabilities Act. Plaintiff further requests a remediation plan

 and the opportunity to participate in the crafting of the remediation plan in order to participate in

 crafting a remediation plan to address Plaintiff’s request for injunctive relief.

         25.     Defendant has discriminated against the Plaintiff by denying him access to full and

 equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

 of its place of public accommodation or commercial restaurant facility, in violation of 42 U.S.C. §

 12181 et seq. and 28 CFR 36.302 et seq. Defendant has also discriminated against Plaintiff in

 violation of 42 U.S.C. § 12131 et seq. and 28 C.F.R. Part 35 et seq for excluding Plaintiff by reason

 of disability from participation in and denying him benefits of the services, programs, or activities

 of a public entity. Furthermore, the Defendant continues to discriminate against Plaintiff, and all

 those similarly situated, by failing to make reasonable modifications in policies, practices or

 procedures, when such modifications are necessary to afford all offered goods, services, facilities,

 privileges, advantages or accommodations to individuals with disabilities; and by failing to take

 such efforts that may be necessary to ensure that no individual with a disability is excluded, denied

 services, segregated or otherwise treated differently than other individuals because of the absence

 of auxiliary aids and services.

         26.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

 clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all




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 those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

 to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42 U.S.C. §

 12205 and 28 CFR 36.505.

        27.     Defendant is required to remove the existing architectural barriers to the physically

 disabled when such removal is readily achievable for their place of public similarly situated, will

 continue to suffer such discrimination, injury and damage without the immediate relief provided

 by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff

 requires an inspection of the Defendant’s place of public accommodation in order to determine all

 of the areas of non-compliance with the Americans with Disabilities Act.

        28.     Notice to Defendant is not required as a result of the Defendant’s failure to cure the

 violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

 and gross receipts of $500,000 or less). All other conditions precedent have been met by the

 Plaintiff or waived by the Defendant.

        29.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

 Plaintiff’s Injunctive Relief, including an order to alter the property where Defendant operate its

 businesses, located within the commercial property and Commercial restaurant located at 1548

 SW 8th Street, Miami, Florida 33135, the interiors, exterior areas, and the common exterior areas

 of the commercial property to make those facilities readily accessible and useable to the Plaintiff

 and all other mobility-impaired persons; or by closing the facility until such time as the Defendant

 cure its violations of the ADA.

        WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

 Court issue (i) Injunctive relief against Defendant, including an order to make all readily

 achievable alterations to the facilities; or to make such facilities readily accessible to and usable



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 by individuals with disabilities to the extent required by the ADA; and to require Defendant to

 make reasonable modifications in policies, practices or procedures, when such modifications are

 necessary to afford all offered goods, services, facilities, privileges, advantages or

 accommodations to individuals with disabilities; and by failing to take such steps that may be

 necessary to ensure that no individual with a disability is excluded, denied services, segregated or

 otherwise treated differently than other individuals because of the absence of auxiliary aids and

 services; (ii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

 12205 ; and (iii) such other relief as the Court deems just and proper, and/or is allowable under

 Title II of the Americans with Disabilities Act.

      Dated: July 3, 2024

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                                               By: __ /s/ Anthony J. Perez________
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